                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                               Plaintiff,

               v.                                              Case No. 08-CR-197

BRITTNEY M. DORSHAK, et. al.,

                               Defendants.


                                               ORDER


       On January 6, 2009, after having received notice, AUSA Sanders failed to appear for a

hearing regarding establishing conditions of release for the defendant Brittney M. Dorshak. AUSA

Sanders failed to notify the court that he would need to reschedule the hearing and he failed to

ensure another AUSA appeared in his place. Accordingly, the court ordered that Assistant United

States Attorney Daniel H. Sanders show cause why sanctions should not be imposed for his failure

to appear at the above-referenced hearing.

       Later in the day on January 6, AUSA Sanders appeared in chambers to explain his absence.

He has also filed a written response as required by the court. AUSA Sanders has apologized for his

failure to appear and accepts full responsibility for his error. He further indicates the calendaring

steps he has instituted in an effort to prevent similar recurrences.

       The court accepts the apology from AUSA Sanders. Like other assistants in the office of the

U.S. Attorney, Attorney Sanders has always comported himself in a very professional manner in all

dealings before this court. However, one of the keystones of professionalism is appearing in court

as required. Failure to appear indicates a lack of respect for the court and the opposing party, even


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if not intended. Failure to appear could also have significant adverse consequences, depending on

the nature of the hearing.    Fortunately for the government in this case, the establishment of

appropriate conditions of release for the defendant were not a contested matter.

       Had AUSA Sander’s failure occurred some time ago, this court would probably have

accepted his apology on the belief that there would be no repeat transgressions. But this conduct

has occurred within one month of an admonition this court sent to the U.S. Attorney regarding such

failures by assistants in his office. On December 8, 2008, this court advised the then United States

as follows:

       This court expects that the government will have assistants at every hearing. It is
       therefore essential that those in charge make certain that proper calendaring
       procedures are in place to avoid what happened today. If an assistant has a conflict,
       that should be promptly noted and other arrangements for coverage made. This
       court had a courtesy practice of contacting your office when the assistant assigned to
       the case was not present, in order to have a substitute sent to cover the hearing. As
       of today, that practice will cease. If an assistant U.S. Attorney fails to appear,
       appropriate sanctions will be imposed.

       In response, the United States Attorney promptly responded indicating that he regretted that

his office forfeited the court’s good will and stated that he would inform the staff. Also responding

was the Chief of the Criminal Division of the United States Attorney’s Office who stated that he

had informed the criminal staff and “expects that they will practice accordingly.” Despite this

follow-up, AUSA Sanders failed to appear. The court’s warning was explicit in that “appropriate

sanctions will be imposed.” Under the attendant circumstances, simply accepting an apology is not

sufficient. If the warning issued by the court is to have any significance, a sanction must be

imposed. Therefore, the court orders that, within the next 30 days, AUSA Sanders pay the sum of

$50.00 to the Clerk of Court, to be deposited in the Pro Bono Fund of the Court.

       SO ORDERED.

       Dated at Milwaukee, Wisconsin this 12th day of January 2009.

                                                            s/AARON E. GOODSTEIN
                                                            U.S. Magistrate Judge
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